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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

       GENIVA O’KEEFE, CAROL                         Case No.: 2:17-cv-08452
       TOMLINSON, on behalf of
       themselves and all others similarly
       situated,                                     AMENDED CLASS ACTION
            Plaintiffs,                                 COMPLAINT AND
       v.                                               COMPLAINT FOR
       PICK FIVE IMPORTS d/b/a MAXI-                      DAMAGES
       MATIC USA, INC.,                                 (Demand for Jury Trial)
             Defendant.



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                Plaintiffs Geniva O’Keefe and Carol Tomlinson (“Plaintiffs”), on behalf of
      themselves and all others similarly situated, through their undersigned counsel,
      bring this Class Action Complaint (“Complaint”) against Defendant Pick Five
      Imports, Inc. d/b/a Maxi-Matic USA, Inc. (“Maxi-Matic” or “Defendant”). The
      following allegations are based upon investigation by Plaintiffs’ counsel and upon
      personal knowledge as to Plaintiffs’ own facts.
                                        I. NATURE OF THE ACTION
                According to Maxi-Matic U.S.A.’s self-description on the International
      Housewares Association website, “Maxi-Matic USA has been an established
      provider of small kitchen electrics and other household items for more than 30
      years. . . .Maxi-Matic USA, a subsidiary of Pick Five Imports, Inc, is an aggressive
      global consumer products company that designs, manufactures, and markets
      nationally and internationally. We strive to provide the best consumer products
      under world-class brands such as Elite Cuisine by Maxi-Matic, Elite Gourmet by
      Maxi-Matic, Elite Platinum by Maxi-Matic, Elite Home by Maxi-Matic, Maxi-
      Sonic and Mr. Freeze. Maxi-Matic USA is in a period that is exciting and
      innovative. The company delivers products with the best quality and pricing in
      today's market. This has been the foundation of our success to the present and our
      commitment to the future.”1
                1.       Despite Maxi-Matic’s claim of “striv[ing] to provide the best
      consumer products” and being committed to “deliver[ing] products with the best
      quality and pricing in today’s market,” it designed, manufactured, marketed, and
      sold online or through third-party retailers a high-powered pressure cooker called
      the “Maxi-Matic Elite Bistro Pressure Cooker, Model Number EPC-808P”
      (hereinafter, the “Pressure Cooker”), that suffers from a serious and dangerous
      design defect (the “Defect”) that is present at the point of sale and unknown to the
      consumer.

      1
          https://www.housewares.org/housewaresconnect365/detail?com_uid=58294 (last viewed on October 10, 2017).
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                 2.      Specifically, during ordinary and routine operation, the Pressure
      Cooker generates extreme heat and steam. According to the Owner’s Manual
      accompanying the Pressure Cooker, as a “safety feature, the lid will not open
      unless all pressure is released.”2 Contrary to Defendants’ claim, the Pressure
      Cooker’s lid will violently open when pressure remains inside the Pressure Cooker.
      When the Defect manifests itself the built-up pressure and steam trapped inside the
      Pressure Cooker causes its scalding hot contents to burst and erupt from the
      appliance when the lid is opened by the consumer, resulting in significant and
      painful personal injury to the consumer.
                 3.      The Defect includes, without limitation, a defective lid locking
      mechanism. The Defect is twofold. First, the Pressure Cooker’s lid-locking
      mechanism is easily overcome, allowing the lid to be rotated and removed when
      there is still pressure inside the unit. Second, the Defect allows the Pressure Cooker
      to fully pressurize without the lid being securely attached, which can result in the
      lid explosively separating from the cooker without warning. Under either scenario,
      the internal pressure can cause the contents to erupt from the Pressure Cooker
      through the defective lid-locking mechanism when the Pressure Cooker is being
      used for its intended purpose, discharging the scalding hot contents onto
      unsuspecting consumers, resulting in significant injuries (hereinafter, the
      “Defect”). Regardless of whether the Defect manifests itself, for all Pressure
      Cookers sold by Maxi-Matic, the Defect poses a serious safety risk to consumers
      and the public.
                 4.      The Pressure Cooker models at issue in this case include, but are not
      limited to, the Maxi-Matic Model Number EPC-808P and all other Maxi-Matic
      Elite Bistro Pressure Cooker models sold by Maxi-Matic.
                 5.      At all relevant times, Maxi-Matic knew or should have known of the
      Defect at the point of sale but nevertheless sold the Pressure Cooker to consumers,

      2
          Exhibit A (Maxi-Matic’s Elite Bistro Pressure Cooker Owner’s Manual) (emphasis added).
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      failed to warn consumers of the serious safety risk posed by the Defect, and failed
      to recall the dangerously defective Pressure Cooker despite the risk of significant
      injuries to consumers as well as the failure of the product.
             6.     As a direct and proximate result of Maxi-Matic’s concealment of the
      Defect, failure to warn customers of the Defect and of the inherent safety risk
      posed by the Pressure Cooker, failure to remove the defective Pressure Cooker
      from the stream of commerce, and failure to recall or remedy the Defect, Plaintiff
      purchased and used Maxi-Matic’s defective and unsafe Pressure Cooker when she
      otherwise would not have made such a purchase or would not have subsequently
      used the Pressure Cooker.
             7.     Plaintiffs’ Pressure Cooker failed as a result of the Defect when
      Plaintiff opened the lid to her Pressure Cooker, causing the scalding hot contents to
      erupt from the appliance, and resulting in significant and painful personal injury
      and property damage.
             8.     Plaintiffs and all Class members’ Pressure Cookers contain the same
      Defect posing the same substantial safety risk to consumers and the public. Maxi-
      Matic’s Pressure Cooker cannot be used safely for its intended purpose of
      preparing meals at home.
                                II. JURISDICTION AND VENUE
             9.     This Court has jurisdiction over this action under the Class Action
      Fairness Act, 28 U.S.C. § 1332(d). There are at least 100 members in the proposed
      class, the aggregated claims of the individual class members exceed the sum or
      value of $5,000,000, exclusive of interest and costs, and this is a class action in
      which Maxi-Matic USA and more than two-thirds of the proposed plaintiff class
      are citizens of different states.
             10.    This Court may exercise jurisdiction over Maxi-Matic USA because it
      has located its American headquarters in California; it is registered to conduct
      business in California.

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            11.    Maxi-Matic USA and Pick Five Imports, Inc. have sufficient
      minimum contacts in California, as they intentionally avail themselves of the
      markets within California through the promotion, sale, marketing, and distribution
      of their pressure cooker products, thus rendering the exercise of jurisdiction by this
      Court proper and necessary.
            12.    Venue is proper in this District under 28 U.S.C. § 1391 because Maxi-
      Matic USA is headquartered in this district, Pick Five Imports, Inc. is a foreign
      entity, and a substantial part of the events or omissions giving rise to Plaintiff’s
      claims occurred in this District.
                                          III. PARTIES
            13.    Plaintiff Geniva O’Keefe is a resident and citizen of Lecanto, Florida.
      In early 2016, her mother, as her agent, purchased for her a new Maxi-Matic Elite
      Bistro Pressure Cooker, Model Number EPC-808P, from the Home Shopping
      Network.     Plaintiff O’Keefe suffered substantial and painful injury when her
      Pressure Cooker failed during normal use as a result of the Defect in Halls,
      Tennessee.
            14.    Plaintiff Carol Tomlinson is a resident and citizen of Lecanto, Florida.
      Plaintiff Tomlinson purchased two new Maxi-Matic Elite Bistro Pressure Cookers
      Model Number EPC-808P and Model Number EPC-808R, from the Home
      Shopping Network.
            15.    Defendant Pick Five Imports, Inc. d/b/a Maxi-Matic USA, Inc. is a
      foreign for-profit corporation, organized and existing under the laws of the State of
      California. Defendant has its principal office in the State of California, which is
      located in Industry, California. Pick Five Imports, Inc. also conducts business
      under the name “Maxi-Matic, USA, Inc.” Maxi-Matic designs, manufacturers,
      markets, and sells the Pressure Cooker online and through third-party retailers
      throughout the United States.
            16.

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                                     IV. FACTUAL ALLEGATIONS
              17.     Maxi-Matic touts itself as “an established provider of small kitchen
      electrics and other various household items for more than 25 years.”3
              18.     Maxi-Matic is engaged in the business of designing, manufacturing,
      warranting, marketing, advertising, and selling the Pressure Cooker. Upon
      information and belief, Maxi-Matic designs, manufacturers, warrants, markets,
      advertises, and/or sells the Pressure Cooker out of its principal office in Industry,
      California. Upon information and belief, the defective design and/or manufacture
      of the defective Pressure Cooker was conceived and materially carried out in its
      Industry, California headquarters.
              19.     The Pressure Cooker is used for food preparation by means of boiling
      liquids inside a sealed vessel that produces steam, which is trapped inside to create
      pressure and superheat the contents. The resulting temperatures are intended to
      reduce cooking time while capturing more nutrients than is possible with other
      cooking methods.
              20.     In the Pressure Cooker’s Owner’s Manual and other written
      documents authored by Maxi-Matic, Maxi-Matic expressly warrants that the
      Pressure Cooker is free from defects, made for years of dependable operation, and
      is manufactured from merchantable materials and workmanship.
              21.     According to its website, Maxi-Matic states that it has been an
      established provider of small kitchen electrics and other various household items
      for more than 25 years. Over the years, the company has added many more
      products to its portfolio and earned a reputation as a ‘Can Do’ company.”4
              22.     “Maxi-Matic delivers products for every room in your house with the
      best quality and pricing in today’s market. This has been the foundation of our
      success to the present and our commitment to the future.”5

      3
        https://www.dsmoz.com/maxi-matic/(last visited November 9, 2017).
      4
        https://www.dsmoz.com/maxi-matic/(last visited November 9, 2017).
      5
        Id.
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            23.    In the Owner’s Manual, Maxi-Matic emphasizes that the consumer
      should “[g]ently tap the [v]alve (3) using an oven mitt or utensil. If it is loose and
      turns easily and no steam is released from the [v]alve, then all pressure has been
      released. As a safety feature, the lid will not open unless all pressure is released.
      Do not force the lid open.” Ex. A (emphasis added). Unfortunately for Plaintiffs
      and other class members, this safety feature is not present in the Pressure Cookers.
            24.    Plaintiffs and the Class purchased their Pressure Cookers reasonably
      believing they were properly designed and manufactured, free from defects, and
      safe for their intended use.
            25.    Plaintiffs and the Class used their Pressure Cookers for their intended
      purpose of preparing meals at home in a manner reasonably foreseeable by Maxi-
      Matic. Plaintiffs and the Class, however, are now unable to use their Pressure
      Cookers for their intended purpose, or are required to place themselves and their
      families at risk when using them, because the Defect renders the Pressure Cooker
      unsafe by allowing a dangerous level of pressure to accumulate, causing the hot
      contents to spontaneously erupt out.
            26.    The Pressure Cooker suffers from a design Defect that poses an
      unreasonable risk of injury during normal use.
            27.    Maxi-Matic knew or should have known of the Defect and of the
      serious safety risk it posed to consumers and the public, but chose to conceal
      knowledge of the Defect from consumers who purchased the Pressure Cooker.
      Maxi-Matic continues to remain silent regarding the Defect and continues to sell
      the Pressure Cooker to unsuspecting consumers.
            28.    As a result of Maxi-Matic’s conduct, Plaintiffs and the Class have
      suffered damages, including, without limitation: (a) the purchase price of the
      Pressure Cooker, as Plaintiff and the Class would not have purchased the product
      had they been informed of the Defect; (b) their failure to receive the benefit of their
      bargain; (c) their overpayment for the Pressure Cooker; (d) the diminished value of

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      the Pressure Cooker; (e) the costs of repair or replacement of the Pressure Cooker;
      (f) damages to real and/or personal property; and (g) damages for personal injuries.


                  ADDITIONAL SPECIFICS CONCERNING THE DEFECT
             Maxi-Matic’s Pressure Cooker has a design Defect that causes the product to
      malfunction during its expected useful life. This section of the Complaint sets
      forth specifics concerning the Defect.
             Based upon Plaintiffs’ Counsel’s investigation, the Defect includes, without
      limitation, a defective lid locking mechanism. The Defect is twofold. First, the lid
      locking safety feature of the Pressure Cooker is easily overcome, allowing the lid
      to be rotated and removed when there is still pressure inside the unit. Second, the
      Defect allows the Pressure Cooker to fully pressurize without the lid being
      securely attached and can result in the lid explosively separating from the cooker
      unexpectedly. The internal pressure can cause the contents to erupt from the
      Pressure Cooker when it is being used for its intended purpose, discharging the
      scalding hot contents onto unsuspecting consumers, resulting in significant
      injuries.
             Upon information and belief, the Defect (the pressurization of an insecurely-
      attached lid and the ability to rotate the lid on a pressurized cooker) is so dangerous
      to consumers that Maxi-Matic corrected them in later models of Maxi-Matic Bistro
      and Platinum cookers. Specifically, newer Maxi-Matic Pressure Cooker models
      have float valves that are red in color and do not enable the user to open the lid of
      the unit despite internal pressure sufficient to extend the float valve. Upon
      information and belief, recent models of Maxi-Matic Platinum model numbers
      EPC-808 and EPC-1013R have the red colored float valve that appears to have
      corrected the some of the above-mentioned Defects, thus evidencing a safer and
      more feasible design. However, no recall or notice was issued about the dangers of
      the earlier design.

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            The Defect, which allows users to open the Pressure Cooker while it still
      contains pressure, demonstrates the ineffectiveness of the “lid safety device” that
      Maxi-Matic touts as one of the Pressure Cookers’ built-in safety features.
            The Defect, which is present at the point of sale and in unknown to the
      consumer, can manifest itself during the expected useful lives of the Pressure
      Cooker, within and without the warranty periods, preventing the Pressure Cooker
      from being used as intended, and creating an unreasonable risk of personal injury.
                             PLAINTIFF O’KEEFE’S EXPERIENCE
            29.    On or about January 2016, Plaintiff O’keefe’s mother, at Plaintiff
      O’keefe’s direction, purchased two Pressure Cookers from Home Shopping
      Network (“HSN”): one for herself and one for Plaintiff.
            30.    Prior to use, Plaintiff O’keefe read the Owner’s Manual authored by
      Maxi-Matic and included with the Pressure Cooker. Plaintiff O’keefe relied on the
      Owner’s Manual to operate the Pressure Cooker.
            31.    Plaintiff O’keefe used the Pressure Cooker on a number of occasions
      to make a variety of meals for herself and her family without any issues.
            32.    On or about April 28, 2016, Plaintiff O’keefe used her Pressure
      Cooker to prepare chicken and dumplings for her family.             Having read and
      understood the instructions in the Owner’s Manual and having relied on Maxi-
      Matic’s representations that the product was safe, functional, and ready for use, she
      selected the default cook original setting and set it to cook for 15 minutes.
            33.    Plaintiff O’keefe, acting pursuant to the instructions in the Owners’
      Manual, attempted to depressurize the Pressure Cooker by turning the pressure
      release valve. Plaintiff O’keefe heard and observed steam escaping from the
      Pressure Cooker. Thereafter, Plaintiff let the Pressure Cooker continue to
      “depressurize” for another 10 to 15 minutes as she watched a movie with her
      daughters. Thus, according to the instructions in the Owners’ Manual, Plaintiff
      O’keefe believed her Pressure Cooker was safe to open.

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             34.    However, Plaintiff O’keefe’s Pressure Cooker was not safe to open.
       Unbeknownst to her, the Pressure Cooker still retained a significant and dangerous
       amount of pressure inside the appliance. When Plaintiff O’keefe attempted to open
       the pressure cooker’s lid, scalding hot contents erupted out, spraying all over
       Plaintiff O’keefe’s person and kitchen.
             35.    Unbeknownst to Plaintiff O’keefe and in contrast with Maxi-Matic’s
       representations in the Owner’s Manual, the “safety” locking mechanism on her
       Pressure Cooker had not engaged, which enabled her to open the Pressure cooker
       despite the significant amount of pressure that remained inside.
             36.    As a result and pictured below, Plaintiff O’keefe suffered serious
       second and third degree burns to her arm, stomach, and leg. She has been to the
       emergency room on three occasions and has had to undergo numerous follow-up
       appointments in order for treatment and wound care.
             37.    Today, Plaintiff O’keefe currently lives with pain and discomfort from
       burn marks and has significant scarring from the scalding water that erupted from
       the Pressure Cooker.
             38.    Plaintiff O’keefe received a Pressure Cooker that was defective at the
       point of sale. Plaintiff O’keefe did not receive the benefit of her bargain as a result
       thereof. Plaintiff O’keefe would not have purchased her Pressure Cooker had she
       known it was defective.
             39.    The following photographs are true and accurate depictions of the
       injuries Plaintiff O’keefe sustained:




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          Photograph 1




          Photograph 2                                         Photograph 3


                         PLAINTIFF CAROL TOMLINSON’S EXPERIENCE
              40.        On or about December 8, 2015, Plaintiff Tomlinson purchased a
       Pressure Cooker in Plum from Home Shopping Network. Plaintiff Tomlinson paid
       $111.15 for her Pressure Cooker.
              41.        On or About December 8, 2015, Plaintiff Tomlinson purchased a
       Pressure Cooker in Red from Home Shopping Network. Plaintiff Tomlinson paid
       $116.44.
              42.        Prior to use, Plaintiff Tomlinson read the Owner’s Manual authored
       by Maxi-Matic and included with the Pressure Cooker. Plaintiff Tomlinson relied
       on the Owner’s Manual to operate the Pressure Cooker.
              43.        Plaintiff Tomlinson used the Pressure Cooker on a couple of
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       occasions to make a variety of meals for herself and her family without any issues.
             44.    One day while using her Pressure Cooker, Plaintiff Tomlinson noticed
       the lid on her Pressure Cooker did not sufficiently lock despite pressure building
       up inside her Pressure Cooker. Extremely concerned given the pressure build up
       that accumulates in the Pressure Cooker when cooking, Plaintiff Tomlinson
       stopped using her Pressure Cooker entirely.
             45.    Based on the allegations contained herein, Plaintiff Tomlinson
       received a Pressure Cooker that was defective at the point of sale. Plaintiff
       Tomlinson did not receive the benefit of her bargain as a result thereof. Plaintiff
       Tomlinson would not have purchased her Pressure Cooker had she known it was
       defective.
             MAXI-MATIC’S NEGLIGENT AND INTENTIONAL CONDUCT
             46.    Maxi-Matic failed to adequately design, manufacture, and/or test the
       Pressure Cooker to ensure it was free from the Defect before offering it to sale to
       Plaintiffs and the Class, despite its duty to do so.
             47.    The Defect poses a serious and immediate safety risk to consumers
       and the public and has caused or will cause Plaintiffs’ and Class members’
       Pressure Cookers to fail during their expected useful lives.
             48.    Maxi-Matic’s Pressure Cooker should have been usable for its
       intended purpose during its expected useful life. The Defect, however, existed at
       the time that the Pressure Cooker was sold to Plaintiffs and the Class, and the
       Defect immediately rendered the Pressure Cooker unfit for the ordinary and
       intended purpose for which it is marketed and sold.
             49.    If the Pressure Cooker did not suffer from the Defect, Plaintiffs and
       the Class would not have suffered the damages set forth in this Complaint.
             50.    Maxi-Matic has a duty to protect consumers by warning them that the
       Defect poses unreasonable risks of personal injury and/or property damage.
             51.    Nonetheless, even though Maxi-Matic knew or should have known of

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       the Defect, it chose to conceal the existence of the Defect, continued to sell the
       Pressure Cooker, and failed to remove the Pressure Cooker from the marketplace.
       Maxi-Matic took these actions to realize the substantial financial benefits of
       selling the defective Pressure Cooker to the unsuspecting public.
              52.    Maxi-Matic knew or should have known that consumers including
       Plaintiff and the Class: (a) were unaware of the Defect and could not reasonably
       be expected to discover the Defect until their Pressure Cookers failed; (b)
       expected to use the Pressure Cooker in their homes without putting their safety
       and property at risk; and (c) expected Maxi-Matic to disclose any Defect that
       would prevent the Pressure Cooker from safely performing its intended purpose,
       as such disclosure by Maxi-Matic would impact a reasonable consumer’s decision
       whether to purchase the Pressure Cooker.
              53.    As a result of Maxi-Matic’s concealment of the Defect, Class
       members remain unaware of the existence of the Defect and that it poses an
       unreasonable risk of personal injury and/or property damage during normal use.
              54.    Had Plaintiffs and Class members been made aware of the Defect,
       they would not have purchased the Pressure Cooker or would have paid
       significantly less for it.


                MAXI-MATIC’S ACTUAL OR CONSTRUCTIVE KNOWLEDGE
                                          OF THE DEFECT
              55.    Maxi-Matic knew or should have known when it sold the Pressure
       Cooker to the public that it suffered from the Defect, and that the Defect caused
       the Pressure Cooker to function improperly during its expected useful life,
       represented an unreasonable risk that the Pressure Cooker would erupt and
       discharge scalding hot liquids and contents, and might result in significant
       personal injury and/or property damage to consumers and the public.
              56.    Maxi-Matic’s knowledge of these facts is established through, inter

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       alia, internal product testing, civil complaints filed against Maxi-Matic, and
       online postings complaining that the Pressure Cooker failed during normal use.
       Despite its knowledge, Maxi-Matic did not remedy or eliminate the Defect in the
       Pressure Cooker or remove it from the stream of commerce.
             57.    In August 2016, a complaint was filed against Maxi-Matic in the
       Circuit Court for the Sixth Judicial Circuit in and for Pasco County, Florida,
       alleging that an Elite Platinum 8qt. Digital Pressure Cooker unexpectedly failed
       and discharged scalding hot liquid onto the plaintiff. See Harkins v. Maxi-Matic
       Products, Inc. et al., 8:16-cv-02362-MSS-MAP (M.D. Fla).
             58.     In June 2017, a complaint was filed against Maxi-Matic in the
       United States District Court for the Southern District of New York, alleging that
       an Elite Platinum 8qt. Digital Pressure Cooker unexpectedly failed and discharged
       scalding hot liquid onto the plaintiff. See Brudner et al. v. Pick Five Imports, Inc.,
       7:17-cv-04856-KMK (S.D. NY).
             59.    In May 2017, a complaint was filed against Maxi-Matic in the United
       States District Court for the Western District of Texas, alleging that an Elite
       Platinum 8qt. Digital Pressure Cooker unexpectedly failed and discharged
       scalding hot liquid onto the plaintiff. See Ferguson v. Pick Five Imports, Inc. et
       al., 1:17-cv-00498-LY (W.D. TX.).
             60.    In conjunction with Maxi-Matic’s experience designing and selling
       the Pressure Cooker, these facts illustrate that Maxi-Matic knew or should have
       known of the Defect.
             61.    Maxi-Matic has a duty to disclose the Defect and to not conceal the
       Defect from Plaintiffs and Class members. Maxi-Matic’s failure to disclose, or
       active concealment of, the Defect places Plaintiffs and Class members at risk of
       personal injury and/or property damage.
             62.    Maxi-Matic is currently still selling the defective Pressure Cooker,
       concealing the Defect, failing to notify consumers of the Defect, and failing to

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       recall the Pressure Cooker.
             63.     Moreover, Maxi-Matic continues to falsely represent through written
       warranties that the Pressure Cooker is free from defects, is of merchantable
       quality, and will perform dependably for years.
             64.     When corresponding with customers, Maxi-Matic does not disclose
       that the Pressure Cooker suffers from the Defect.         As a result, reasonable
       consumers, including Plaintiffs and Class members, purchased and used, and
       continue to purchase and use, the Pressure Cookers in their homes even though it
       is unsafe to do so.
             65.     Maxi-Matic has wrongfully placed on Plaintiffs and Class members
       the burden, expense, and difficulty involved in discovering the Defect, repairing
       and replacing the Pressure Cooker, and paying for the cost of damages caused by
       the Defect.
                                       CLASS ALLEGATIONS
             66.     Plaintiffs bring this action against Maxi-Matic individually and as a
       class action pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and 23(b)(3) on behalf of:

                     All persons, or their agents, in the United States who purchased or
                     own a Maxi-Matic Elite Bistro EPC 808 Pressure Cooker (the
                     “Nationwide Class”).

             67.     Plaintiffs   further   bring    this    action    on    behalf     of:

                     All persons, or their agents, who reside in Florida who purchased or
                     own a Maxi-Matic Elite Bistro EPC 808 Pressure Cooker (the
                     “Florida Class”).


             68.     The Nationwide Class and the Florida Class are collectively referred
       to herein as the “Class” or “Classes.” Excluded from the Classes are: (a) any
       judge presiding over this action and members of their family; and (b) all officers,

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       directors and employees of Maxi-Matic.
             69.        Numerosity:    The members of each Class are so numerous that
       joinder of all members is impracticable.         While the exact number of Class
       members is presently unknown, each Class consists of thousands of people. The
       exact number of Class members can be determined by Maxi-Matic’s sales
       information and other records.
             70.        Commonality: Common questions of law and fact exist as to all
       members of each Class, including, without limitation:

                   a.     Whether the Pressure Cooker designed and sold by Maxi-Matic
                          possesses a material defect;

                   b.     Whether the Defect creates an unreasonable risk that the Pressure
                          Cooker will trap built-up pressure and cause the product to fail;

                   c.     Whether Maxi-Matic knew or should have known that the Pressure
                          Cooker possessed the Defect at the time of sale;

                   d.     Whether Maxi-Matic fraudulently concealed the Defect;

                   e.     Whether Maxi-Matic breached express warranties relating to the
                          Pressure Cooker;

                   f.     Whether Maxi-Matic breached implied                warranties   of
                          merchantability relating to the Pressure Cooker;

                   g.     Whether the Defect resulted from Maxi-Matic’s negligence;

                   h.     Whether Maxi-Matic is strictly liable for selling the Pressure
                          Cooker;

                   i.     Whether Plaintiffs and Class members are entitled to damages;

                   j.     Whether Plaintiffs and Class members are entitled to replacement
                          or repair of their defective Pressure Cooker; and



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                   k.   Whether Plaintiffs and Class members are entitled to equitable
                        relief, including an injunction requiring that Maxi-Matic engage in
                        a corrective notice campaign and/or a recall.

             71.    Typicality: Plaintiffs have the same interests in this matter as all
       Class members, and Plaintiffs’ claims arise out of the same set of facts and
       conduct by Maxi-Matic as the claims of all Class members. Plaintiffs’ and Class
       members’ claims all arise out of Maxi-Matic’s design and sale of the defective
       Pressure Cooker that has created a significant safety risk to consumers, and from
       Maxi-Matic’s failure to disclose the Defect.
             72.    Adequacy of Representation: Plaintiffs are committed to pursuing
       this action and has retained competent counsel experienced in consumer and
       product liability class action litigation. Accordingly, Plaintiffs and their counsel
       will fairly and adequately protect the interests of the Class members.
             73.    Injunctive/Declaratory Relief: The elements of Rule 23(b)(2) are
       met. Maxi-Matic will continue to commit the unlawful practices alleged herein,
       and Class members will remain at an unreasonable and serious safety risk as a
       result of the Defect. Maxi-Matic has acted and refused to act on grounds that
       apply generally to the Class, such that final injunctive relief and corresponding
       declaratory relief is appropriate respecting the Class as a whole.
             74.    Predominance:      The elements of Rule 23(b)(3) are met.          The
       common questions of law and fact enumerated above predominate over the
       questions affecting only individual Class members, and a class action is the
       superior method for the fair and efficient adjudication of this controversy. The
       likelihood that individual Class members will prosecute separate actions is remote
       due to the time and expense necessary to conduct such litigation.             Serial
       adjudication in numerous venues is not efficient, timely, or proper. Judicial
       resources will be unnecessarily depleted by resolution of individual claims.
       Joinder on an individual basis of hundreds or thousands of claimants in one suit

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       would be impractical or impossible. Individualized rulings and judgments could
       result in inconsistent relief for similarly-situated plaintiffs.


                        TOLLING OF THE STATUTES OF LIMITATIONS
              75.    The claims alleged herein accrued upon the discovery of the Defect
       which manifests itself when the Pressure Cooker fails. Because the Defect is
       hidden and Maxi-Matic failed to disclose the true character, nature, and quality of
       the Pressure Cooker, Plaintiff and the Class members did not discover, and could
       not have discovered, the Defect through reasonable and diligent investigation.
       Thus, any applicable statutes of limitations have been tolled by Maxi-Matic’s
       knowledge, misrepresentation, and/or concealment and denial of the facts as
       alleged herein. Plaintiffs and the Class members could not have reasonably
       discovered the Defect before it manifests. Further, as evidenced herein, Maxi-
       Matic, through its correction of the defect in its later Pressure Cooker models,
       illustrates their knowledge of the Defect. Maxi-Matic’s failure to recall the Elite
       Bistro despite this knowledge illustrates their preference of profits rather than
       consumer safety. As a result of Maxi-Matic’s active and continuing concealment
       of the Defect, through its own testing mechanisms, consumer complaints, and
       failure to inform Plaintiffs and the Class of the Defect, any and all statutes of
       limitations otherwise applicable to the allegations herein have been tolled.

                                          CAUSES OF ACTION

                                     FIRST CLAIM FOR RELIEF
                                      Breach of Express Warranty
                                 (on behalf of Plaintiffs and all Classes)
              76.    Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
              77.    In connection with its sale of the Pressure Cooker, Maxi-Matic
       expressly warranted that it was free from defects, made for years of dependable

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       operation, and made from merchantable materials and workmanship.
             78.    In Maxi-Matic’s “Owner’s Manual,” which accompanied the sale of
       the Pressure Cooker to consumers, Maxi-Matic expressly represented that: “The
       digitally controlled and automatic pressure cooker uses advanced technology so
       you and your and family can enjoy the benefits of better, faster and healthier
       cooking.” Ex. A.
             79.    Further, the manual expressly represented that “It’s the easiest
       pressure cooker to use on the market. It may seem like a complicated unit but rest
       assured, this pressure cooker is simple to use, makes meals quick and easy, and
       overall it saves you money!” Ex. A.
             80.    The Owner’s Manual further states: “It is warranted to the original
       purchaser to be free from any manufacturing defects under normal use and
       conditions for (1) year, cord excluded. This warranty applies only to the original
       purchaser of the product.” Ex. A.
             81.    The Owner’s Manual provides: “At its sole discretion, Maxi-Matic
       will either repair or replace the product found to be defective during the warranty
       period.” Ex. A.
             82.    Furthermore, in its Owner’s Manual and other promotional materials,
       Maxi-Matic represents that the Pressure Cooker contains built-in safety features.
       Specifically, Maxi-Matic represents that “[a]s a safety feature, the lid will not
       open unless all pressure is released.” Ex. A.
             83.    The Pressure Cooker is defectively designed as a whole unit and is
       covered by Maxi-Matic’s Limited Warranty, set forth above.
             84.    Each Pressure Cooker has an identical or substantially identical
       warranty.
             85.    Plaintiffs and the Class have privity of contract with Maxi-Matic
       through their purchase of the Pressure Cooker, and through the express written
       and implied warranties that Maxi-Matic issued to its customers. Maxi-Matic’s

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       warranties accompanied the Pressure Cooker and were intended to benefit
       consumers of the Pressure Cooker. To the extent Class members purchased the
       Pressure Cooker from third-party retailers, privity is not required because the
       Class members are intended third-party beneficiaries to the contracts between
       Maxi-Matic and third-party retailers.
              86.   The express written warranties covering the Pressure Cooker were a
       material part of the bargain between Maxi-Matic and consumers. At the time it
       made these express warranties, Maxi-Matic knew of the purpose for which the
       Pressure Cooker was to be used.
              87.   Maxi-Matic breached its express warranties by selling Pressure
       Cookers that were, in actuality, not free of defects, not made for years of
       dependable operation, not made from merchantable material and workmanship,
       and could not be used for the ordinary purpose of preparing meals at home. Maxi-
       Matic breached its express written warranties to Plaintiffs and Class members in
       that the Defect with the Pressure Cookers is present at the point of sale and
       unknown to Plaintiffs and Class members , creating a serious safety risk to
       Plaintiffs and Class members.
              88.   The Pressure Cookers that Plaintiffs and Class members purchased
       were subject to the Defect and can cause personal injuries, and for some Class
       members including Plaintiff O’keefe, already have caused significant personal
       injuries.
              89.   Maxi-Matic expressly warranted in writing that it would repair or
       replace any defect in the Pressure Cooker, or refund the purchase price of the
       Pressure Cooker if repair or replacement was not feasible.
              90.   Maxi-Matic breached its express warranty to repair or replace the
       defective Pressure Cooker when it failed to do so, despite its knowledge of the
       Defect and/or despite its knowledge of alternative designs, materials, and/or
       options for manufacturing the Pressure Cooker.

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             91.    To the extent that Maxi-Matic has repaired or replaced the defective
       parts, the warranty of repair or replacement fails in its essential purpose because it
       is insufficient to make Plaintiffs and Class members whole and/or because Maxi-
       Matic has failed to provide the promised remedy within a reasonable time.
             92.    Many of the damages resulting from the defective Pressure Cooker
       cannot be resolved through the limited remedy of repair or replacement, as
       incidental and consequential damages have already been suffered due to Maxi-
       Matic’s conduct as alleged herein.
             93.    Accordingly, recovery by Plaintiffs and Class members is not limited
       to the limited warranty of repair or replacement, and they seek all remedies
       allowed by law.
             94.    Upon information and belief, Maxi-Matic received further notice and
       has been on notice of the Defect and of its breaches of express and implied
       warranties through customer warranty claims reporting problems with the
       Pressure Cooker, customer complaints, and its own internal and external testing.
             95.    Despite having notice and knowledge of the Defect, Maxi-Matic
       failed to provide Defect-free Pressure Cookers to Plaintiffs and Class members,
       failed to provide free repairs of the defective Pressure Cooker, and failed to
       provide any form of compensation for the damages resulting from the Defect.
             96.    As a result of Maxi-Matic’s breach of its express written warranties,
       Plaintiffs and Class members have suffered damages.




                             SECOND CLAIM FOR RELIEF
                       Breach of Implied Warranty of Merchantability
                           (On behalf of Plaintiffs and all Classes)
             97.    Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.

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             98.    The Pressure Cooker purchased by Plaintiffs and Class members was
       defectively designed and manufactured and posed a serious and immediate safety
       risk to consumers and the public.
             99.    All of the Pressure Cookers sold by Maxi-Matic left Maxi-Matic’s
       facilities and control with a Defect caused by a defective design incorporated into
       the manufacture of the Pressure Cookers.
             100. The Defect placed and/or places Plaintiffs and Class members at a
       serious safety and property damage risk upon using the Pressure Cooker in their
       homes.
             101. The law imposes a duty requiring manufacturers or sellers of a
       product to ensure that the product is merchantable and reasonably fit for the
       ordinary purposes for which such a product is used, and that the product is
       acceptable in trade for the product description.        This implied warranty of
       merchantability is part of the basis of the bargain between Maxi-Matic and
       consumers, including Plaintiffs and the Class members.
             102. Notwithstanding the aforementioned duty, at the time of delivery,
       Maxi-Matic breached the implied warranty of merchantability in that the Pressure
       Cooker is defective and poses a serious safety risk present at the point of sale and
       unknown to the Plaintiffs and Class Members, was not fit for the ordinary
       purposes for which it was used, would not pass without objection, and failed to
       conform to the standard performance of like products.
             103. Maxi-Matic knew, or should have known, that the Pressure Cooker
       posed a safety risk and was defective, and that it breached the implied warranties
       at the time it sold the Pressure Cooker to Plaintiffs and Class members or
       otherwise placed them into the stream of commerce.
             104. Plaintiffs and Class members have privity of contract with Maxi-
       Matic through their purchase of the Pressure Cooker from Maxi-Matic, and
       through the express written and implied warranties that Maxi-Matic issued to its

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       customers. Maxi-Matic’s warranties accompanied the Pressure Cooker and were
       intended to benefit the ultimate consumers. To the extent that Class members
       purchased the Pressure Cooker from third-party retailers, privity is not required
       because Plaintiffs and Class members are intended third-party beneficiaries to the
       contracts between Maxi-Matic and the third-party retailers.
              105. As a direct and proximate result of Maxi-Matic’s breach of the
       implied warranties, Plaintiffs and Class members bought the Pressure Cooker
       without knowledge of the Defect or the serious safety risks.
              106. As a direct and proximate result of Maxi-Matic’s breach of the
       implied warranties, Plaintiffs and Class members purchased unsafe Pressure
       Cookers that were not fit to be used for their intended purpose of preparing food
       in a residential setting.
              107. Plaintiffs notified Maxi-Matic of its breach of the implied warranties
       shortly after their Pressure Cookers failed to perform as warranted as a result of
       the Defect.
              108. Maxi-Matic received further notice of the Defect and of its breaches
       of express and implied warranties through customer warranty claims reporting
       problems with the Pressure Cooker, customer complaints, and its own internal and
       external testing.     Maxi-Matic also received notice through plaintiffs who
       complained to Maxi-Matic about the Defect as described above.
              109. Despite having notice and knowledge of the Defect, Maxi-Matic
       failed to provide Defect-free Pressure Cookers to Plaintiffs and Class members,
       failed to provide free repairs of the defective Pressure Cooker, and failed to
       provide any form of compensation for the damages resulting from the Defect.
              110. As a direct and proximate result of Maxi-Matic’s breach of the
       implied warranties, Plaintiffs and Class members have suffered damages.




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                                THIRD CLAIM FOR RELIEF
                                           Negligence
                             (On behalf of Plaintiffs and all Classes)

               111. Plaintiffs re-alleges and incorporate the preceding paragraphs as if
       fully set forth herein.
               112. Maxi-Matic owed a duty to Plaintiff and Class members to design,
       manufacture, produce, test, inspect, market, distribute, and sell the Pressure
       Cooker with reasonable care and in a workmanlike fashion, and also had a duty to
       protect Plaintiff and Class members from foreseeable and unreasonable risks of
       harm.     Maxi-Matic breached that duty by, among other things, defectively
       designing, manufacturing, testing, inspecting, and selling the Pressure Cookers.
               113. Maxi-Matic also acted unreasonably in failing to provide appropriate
       and adequate warnings and instructions, and the failure to provide adequate
       warnings and instructions was a proximate cause of the harm for which damages
       are sought.
               114. In addition, at the time the Pressure Cookers left Maxi-Matic’s
       control without an adequate warning or instruction, they constituted unreasonably
       dangerous articles that Maxi-Matic knew, or in the exercise of ordinary care
       should have known, posed a substantial risk of harm to a reasonably foreseeable
       consumer. Maxi-Matic knew or should have known that the Pressure Cooker it
       designed, manufactured, produced, tested, inspected, marketed, distributed, and/or
       sold would, during ordinary and foreseeable use, create an unreasonable safety
       risk and fail to perform as intended.
               115. At the time of the design or manufacture of the Pressure Cooker,
       Maxi-Matic acted unreasonably in designing or manufacturing them, and this
       conduct proximately caused the harm for which damages are sought.
               116. Furthermore, at the time the Pressure Cookers left the control of


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       Maxi-Matic, it unreasonably failed to adopt a safer, practical, feasible, and
       otherwise reasonable alternative design that could have been adopted and that
       would have prevented or substantially reduced the risk of harm without
       substantially impairing the usefulness, practicality, or desirability of the Pressure
       Cooker. At the time the Pressure Cookers left the control of Maxi-Matic, their
       design was so unreasonable that no reasonable person, aware of the relevant facts,
       would use or purchase them.
                117. Maxi-Matic knew or should have known that the Pressure Cooker
       created an unreasonable safety risk as a result of the Defect that was present at the
       point of sale and unknown to the Plaintiff and Class members, and that the Defect
       could cause personal injury and/or property damage.
                118. Based on its knowledge, Maxi-Matic had a duty to disclose to
       Plaintiff and Class members the serious safety risks posed by the Pressure Cooker,
       in addition to a duty to disclose the nature of the Defect.
                119. Maxi-Matic had a further duty not to put the defective products on
       the market, had a continuing duty to remove its unsafe Pressure Cooker from the
       market, and also had a duty to seek a recall from consumers.
                120. Maxi-Matic failed to exercise reasonable care with respect to the
       design, manufacture, production, testing, inspection, marketing, distribution and
       sale of the Pressure Cooker by, among other things, failing to design and
       manufacture the Pressure Cooker in a manner to ensure that, under normal and
       intended usage, a serious safety risk such as the one posed by the Defect did not
       occur.
                121. Maxi-Matic failed to exercise reasonable care in failing to warn or to
       warn adequately and sufficiently, either directly or indirectly, of the Defect.
                122. Maxi-Matic failed to exercise reasonable care when it knew of the
       safety risks the Defect posed and actively concealed those risks from Plaintiff and
       Class members.

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             123. Maxi-Matic failed to exercise reasonable care when it knew of the
       safety risks posed by the Defect and failed to replace, repair, or recall Pressure
       Cookers it knew or should have known were unsafe and defective
             124. As a direct and proximate result of Maxi-Matic’s negligence,
       Plaintiff and the Class members bought the Pressure Cooker without knowledge
       of the Defect or of the serious safety risk, and purchased an unsafe product that
       could not be used for its intended purpose.
             125. As a direct and proximate result of Maxi-Matic’s negligence,
       Plaintiffs and the Class members have suffered damages.

                              FOURTH CLAIM FOR RELIEF
                                     Unjust Enrichment
                          (On behalf of the Plaintiffs and all Classes)

             126. Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
             127. This alternative claim is asserted on behalf of Plaintiff and Class
       members to the extent there is any determination that any contracts between Class
       members and Maxi-Matic do not govern the subject matter of the disputes with
       Maxi-Matic, or that Plaintiffs does not have standing to assert any contractual
       claims against Maxi-Matic.
             128. Plaintiffs and Class members conferred a benefit on Maxi-Matic, and
       Maxi-Matic had knowledge of this benefit. By its wrongful acts and omissions
       described herein, including selling the defective Pressure Cooker, Maxi-Matic was
       unjustly enriched at the expense of Plaintiffs and Class members.
             129. Plaintiffs’ and Class members’ detriment and Maxi-Matic’s
       enrichment were related to and flowed from the wrongful conduct alleged in this
       Complaint.
             130. It would be inequitable for Maxi-Matic to retain the profits, benefits,

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       and other compensation obtained from its wrongful conduct as described herein in
       connection with selling the Pressure Cooker.
              131. Plaintiffs and Class members seek restitution from Maxi-Matic and
       an order of this Court proportionally disgorging all profits, benefits, and other
       compensation obtained by Maxi-Matic from its wrongful conduct, and
       establishing a constructive trust from which Plaintiff and Class members may seek
       restitution.

                               FIFTH CLAIM FOR RELIEF
         Strict Product Liability–Manufacturing and Design Defect and Failure to
                                           Warn
                          (On behalf of Plaintiffs and all Classes)

              132. Plaintiffs re-allege and incorporate the preceding paragraphs as if
       fully set forth herein.
              133. Maxi-Matic designed, developed, tested, manufactured, distributed,
       marketed, and/or sold the Pressure Cooker to Plaintiff and the Class.
              134. The Pressure Cookers were defective in their manufacture and
       design, and contained the Defect when they left Maxi-Matic’s control.
              135. Maxi-Matic could have implemented or adopted reasonable and
       feasible alternative designs, materials, and/or manufacturing methods to remedy
       the Defect but failed to do so. This is evidenced by their resolution of the Defect
       in subsequent Pressure Cooker models.
              136. The risk of harm associated with the Pressure Cooker outweighs its
       intended and foreseeable benefit. The ability to quickly prepare meals at home
       does not outweigh the risk of the Pressure Cooker erupting and inflicting
       significant personal injury.
              137. Maxi-Matic’s Pressure Cooker reached Plaintiff and the Class
       members in the same condition as when it left Maxi-Matic’s control with the
       Defect being present at the point of sale and unknown to the Plaintiff and Class

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       members.
             138. Maxi-Matic knew or should have known that the Pressure Cookers
       were defective and posed a real risk of trapping built-up pressure and erupting
       during their regular use.
             139. The Pressure Cooker was more dangerous than a reasonably prudent
       consumer would expect when used in an intended and reasonably foreseeable
       manner.
             140. Plaintiff and the Class members were unaware of the risk of harm
       posed by the Pressure Cooker.
             141. Maxi-Matic failed to inform Plaintiff and Class members as to the
       Pressure Cooker’s susceptibility to erupt, causing scalding hot contents to
       discharge, resulting in significant personal injury and/or property damage.
             142. Maxi-Matic failed to provide a warning that a reasonable
       manufacturer would have provided in light of the likelihood that the Pressure
       Cooker would erupt and in light of the serious harm that may result from the
       Defect.
             143. The Pressure Cooker was defective due to inadequate warnings,
       inadequate inspection and testing, and/or inadequate reporting concerning the
       results of quality control testing, or lack thereof.
             144. Had Plaintiffs and Class members been adequately warned
       concerning the likelihood that the Pressure Cooker would erupt, they would have
       taken steps to avoid damages by not purchasing them.
             145. Upon learning that its Pressure Cooker could trap built-up pressure
       and erupt, Maxi-Matic had a duty to warn consumers of the possibility that the
       Defect could cause severe injury to persons and/or property, even when used for
       their intended purpose.
             146. As a direct and proximate result of the defective condition of the
       Pressure Cooker, Plaintiff and Class members have incurred or are at risk of

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       incurring damages to their persons and to their personal and/or real property in an
       amount to be determined at trial.

                        SIXTH CLAIM FOR RELIEF
         VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                              PRACTICES ACT
                          (Fla. Stat. § 501.201 et seq.)
                       (On behalf of the Florida Class)
             147. Plaintiffs, individually and on behalf of all others similarly situated,
       adopt and incorporate by reference all foregoing allegations as though fully set
       forth herein.
             148. This cause of action is brought pursuant to the Florida Deceptive and
       Unfair Trade Practices Act, Fla. Stat. § 501.201 et seq. (FDUTPA). The stated
       purpose of this Act is to “protect the consuming public . . . from those who engage
       in unfair methods of competition, or unconscionable, deceptive, or unfair acts or
       practices in the conduct of any trade or commerce.” Id. §501.202(2).
             149. Plaintiffs and all Class members are “consumers” and the
       transactions at issue in this Complaint constitute “trade or commerce” as defined
       by FDUTPA. See id. § 501.203(7)-(8).
             150. FDUTPA         declares     unlawful     “[u]nfair    methods      of
       competition, unconscionable acts or practices, and unfair or deceptive acts or
       practices in the conduct of any trade or commerce.” Id. § 501.204(1).
             151. Maxi-Matic violated FDUTPA by engaging in the conduct described
       herein, which constitutes unfair methods of competition, or unconscionable,
       deceptive, or unfair acts or practices in the conduct of any trade or commerce.
             152. In violation of FDUTPA, Maxi-Matic employed fraud, deception,
       false promise, misrepresentation, and the knowing concealment, suppression, or
       omission of material facts in its sale and advertisement of the Pressure cookers in
       the State of Florida.
             153. Maxi-Matic has engaged in unfair, deceptive, and unconscionable

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       practices by: (a) marketing and selling the defective Pressure Cooker with the
       Defect being present at the point of sale; (b) intentionally failing to disclose and/or
       concealing the known Defect and risks; and (c) warranting that the Pressure
       Cooker is free from defects and possess built-in safety features.
             154. Maxi-Matic warranted and represented that the Pressure Cooker was
       safe and free from defects in materials and workmanship and that it possessed
       built-in safety features, including a lid safety device, which would influence a
       reasonable consumer’s decision whether to purchase the Pressure Cooker.
             155. Maxi-Matic’s failure to warn of the Defect was a material omission
       that would influence a reasonable consumer’s decision whether to purchase the
       Pressure Cooker.
             156. Plaintiffs and the Florida Class members were aware of Maxi-
       Matic’s representations regarding the characteristics, qualities, and standards of
       the Pressure Cooker due to the representations contained in the Owner’s Manual
       and other promotional materials relating to the Pressure Cooker.
             157. Plaintiffs and the Florida Class members relied on the truth of Maxi-
       Matic’s warranties and representations concerning the Pressure Cookers and they
       suffered personal and property damages as result of this reliance.
             158. Had Plaintiffs and the Florida Class members been adequately
       warned concerning the Defect and the likelihood that the Pressure Cooker would
       erupt, they would have taken steps to avoid damages by not purchasing them.
             159. Maxi-Matic’s actions in connection with the manufacturing and
       distributing of the Pressure Cookers as set forth herein evidences a lack of good
       faith, honesty in fact, and observance of fair dealing, so as to constitute
       unconscionable commercial practices in violation of the FDUTPA.
             160. Maxi-Matic has acted and continues to act in the face of prior notice
       as to the existence of the Defect.
             161. As a direct and proximate result of Maxi-Matic’s violations of the

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       FDUTPA, Plaintiffs and the Florida Class members have been injured in an
       amount to be proven at trial.

                               SEVENTH CLAIM FOR RELIEF
                               Injunctive and Declaratory Relief
                             (On behalf of Plaintiffs and all Classes)
             162. Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
             163. There is an actual controversy between Maxi-Matic, Plaintiffs, and
       Class members concerning the existence of the Defect in the Pressure Cooker.
             164. Pursuant to 28 U.S.C. § 2201, this Court may “declare the rights and
       other legal relations of any interested party seeking such declaration, whether or
       not further relief is or could be sought.”.
             165. Accordingly, Plaintiff and Class members seek a declaration that the
       Pressure Cooker has a common Defect in its design and/or manufacture that was
       present at the point of sale and unknown to the Plaintiffs and Class members.
             166. Additionally, Plaintiffs and Class members seek a declaration that
       this common Defect poses a serious safety risk to consumers and the public.
             167. Maxi-Matic designed, manufactured, produced, tested, inspected,
       marketed, distributed, and sold the Pressure Cooker which contains a material and
       dangerous Defect as described herein, and continues to do so.
             168. Based upon information and belief, Maxi-Matic has taken no
       corrective action concerning the Defect, and has not issued any warnings or
       notices concerning the dangerous Defect, nor implemented a product recall.
             169. Plaintiffs and Class members have suffered actual damage or injury
       or are in immediate risk of suffering actual damage or injury due to the Defect.
       Maxi-Matic should be required to take corrective action to prevent further injuries,
       including: (a) issuing a nationwide recall of the Pressure Cooker; (b) issuing
       warnings and/or notices to consumers and the Class concerning the Defect; and (c)

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       immediately discontinuing the manufacture, production, marketing, distribution,
       and sale of the defective Pressure Cooker.

                                 EIGHTH CLAIM FOR RELIEF
                   Violation of the California False Advertising Law (“FAL”)
                             (on Behalf of Plaintiffs and all Classes)

             170. Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
             171. Plaintiffs bring this claim individually and on behalf of the National
       Class. The conduct described herein took place within the State of California and
       constitutes deceptive or false advertising in violation of California Business and
       Professions Code § 17500.
             172. California Business and Professions Code § 17500 prohibits
       deceptive     or   misleading   practices   in   connection   with   advertising   or
       representations made for the purpose of inducing, or which are likely to induce,
       consumers to purchase products.
             173. Maxi-Matic, when it marketed, advertised, and sold the Pressure
       Cookers, represented to Plaintiffs and Class Members that the Pressure Cookers
       were free of manufacturing defects, despite the fact that the Pressure Cookers
       were defective and prone to failure.
             174. At the time of its misrepresentations, Maxi-Matic was either aware
       that the Pressure Cookers were defective at the point of sale and unknown to the
       Plaintiffs and Class members or was aware that it lacked the information and/or
       knowledge required to make such a representation truthfully. Maxi-Matic
       concealed, omitted, and failed to disclose this information to Plaintiffs and Class
       Members.
             175. Maxi-Matic’s descriptions of the Pressure Cookers were false,
       misleading, and likely to deceive Plaintiff and other reasonable consumers.
             176. Maxi-Matic’s conduct therefore constitutes deceptive or misleading
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       advertising.
              177. Plaintiffs have standing to pursue claims under the FAL as she
       reviewed and relied on Maxi-Matic’s advertising and marketing materials
       regarding the Pressure Cookers.
              178. In reliance on the statements made in Maxi-Matic’s advertising and
       marketing materials and Maxi-Matic’s omissions and concealment of material
       facts regarding the quality of the Pressure Cookers, Plaintiffs and Class Members
       purchased the Pressure Cookers.
              179. Had Maxi-Matic disclosed the true defective nature of the Pressure
       Cookers, Plaintiff and Class Members would not have purchased the Pressure
       Cookers.
              180. As a direct and proximate result of Defendant’s violations of the
       California Business and Professions Code as set forth above, Plaintiffs and the
       Class Members seek restitution of any monies wrongfully acquired or retained by
       Defendant by means of its deceptive or misleading representations, including
       monies already obtained from Plaintiffs and Class Members under § 17500.

                                     NINTH CAUSE OF ACTION
                      Violation of the California Consumer Legal Remedies Act
                                (on Behalf of Plaintiffs and all Classes)
              181. Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
              182. The conduct described herein took place in the State of California
       and constitutes unfair methods of competition or deceptive acts or practices in
       violation of the Consumers Legal Remedies Act (“CLRA”), Civil Code § 1750, et
       seq.
              183. The CLRA applies to all claims of all the Class Members because the
       conduct which constitutes violations of the CLRA by Defendant occurred within
       the State of California.

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             184. Plaintiffs and Class Members are “consumers” as defined by Civil
       Code § 1761(d).
             185. Maxi-Matic is a “person” as defined by Civil Code § 1761(a)
             186. The Pressure Cookers qualify as “goods” as defined by Civil Code §
       1761(a).
             187. Plaintiffs and the Class Members’ purchases of the Pressure Cookers
       are “transactions” as defined by Civil Code 25 §1761(e).
             188. As set forth below, the CLRA deems the following unfair methods of
       competition and unfair or deceptive acts or practices undertaken by any person in
       a transaction intended to result or which results in the sale or lease of goods or
       services to any consumer as unlawful.
                  a.   “Representing that goods . . . have sponsorship, approval,
                       characteristics, ingredients, uses, benefits, or quantities which
                       they do not have.” Civil Code § 1770(a)(5); and
                  b.   Representing that good . . . are of a particular standard, quality, or
                       grad, or that goods are of a particular style or model, if they are of
                       another.” Civil Code § 1770(a)(7)
             189. Maxi-Matic engaged in unfair competition or unfair of deceptive acts
       or practices in violation of civil code §§ 1770(a)(5) and (a)(7) when it represented,
       through its advertising and other express representations, that the Pressure
       Cookers had benefits or characteristics that they did not actually have.
             190. As detailed throughout this Complaint, Maxi-Matic has repeatedly
       engaged in conduct deemed a violation of the CLRA, and has made
       representations regarding benefits or characteristics the defective Pressure
       Cookers did not in fact have, and represented the Pressure Cookers of a quality
       that was not true.
             191. The Pressure Cookers were not and are not “reliable,” in that the
       products have a higher failure rate than other products in the industry. As detailed

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       above, Defendant further violated the CLRA when it falsely represented that the
       Pressure Cookers have a certain standard or quality.
             192. As detailed above, Maxi-Matic violated the CLRA when it advertised
       the Pressure Cookers with the intent not to sell them as advertised and knew that
       the Pressure Cookers were not as represented.
             193. Maxi-Matic’s deceptive practices were specifically designed to
       induce Plaintiff and the Class Members to purchase or otherwise acquire the
       Pressure Cookers.
             194. Maxi-Matic engaged in uniform marketing efforts to reach Class
       Members, their agents, and/or third parties upon whom they relied, to persuade
       them to purchase the Pressure Cookers. Maxi-Matic’s website and advertisements
       contained numerous false and misleading statements regarding the quality and
       safety of the Pressure Cookers.
             195. Defendant also omitted and concealed this information and material
       facts from Plaintiffs and Class Members by, among other things, not disclosing
       the Defect at the point of sale.
             196. Through their purchase of the Pressure Cookers, Plaintiffs and Class
       Members relied on Maxi-Matic’s representations and omissions of material facts.
             197. As a direct and proximate result of Defendant’s violations of the
       CLRA, Plaintiffs and Class Members have suffered injury-in-fact and/or actual
       damage.
             198. On November, 28, 2017, Plaintiff O’keefe gave notice of the defect
       to Defendants complying with Cal. Civ. Code § 1780(b). Additionally, all
       Defendants were provided notice of the issues raised in this count and this First
       Amended Complaint by the numerous complaints filed against them, and other
       lawsuits filed against them involving the Pressure Cookers. Because Defendants
       failed to remedy their unlawful conduct within the requisite time period, Plaintiff
       O’keefe seeks all damages and relief to which Plaintiffs and the Class are entitled.

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             199. Pursuant to the provisions of the CLRA, Plaintiff Tomlinson will
       give notice of the defect to Maxi-Matic and upon the expiration of the period
       described in Cal. Civ. Code Section 1782, subd. (d), and Cal. Civ. Code §
       1770(a)(5), (7). Plaintiffs will amend this Complaint to state a claim for damages
       under the CLRA for Plaintiff Tomlinson.

                                    TENTH CAUSE OF ACTION
                    Violation of the California Unfair Competition Law (“UCL”)
                               (on Behalf of Plaintiffs and all Classes)
             200. Plaintiffs re-allege and incorporates the preceding paragraphs as if
       fully set forth herein.
             201. California Business and Professions Code § 17200 prohibits any
       “unlawful, unfair, or fraudulent business act or practices.” Maxi-Matic has
       engaged in unlawful, fraudulent, and unfair business acts or practices in violation
       of the UCL.
             202. Defendant’s conduct, as described herein, was and is in violation of
       the UCL. Maxi-Matic’s conduct violates the UCL in at least the following ways.
                 a. By knowingly and intentionally concealing from Plaintiffs and Class
                     Members that the Pressure Cookers suffer from a design defect that
                     was present at the point of sale, while obtaining money from
                     Plaintiffs and Class Members;
                 b. By marketing the Pressure Cookers as possessing safe and defect free
                     locking devices that would not allow the Pressure Cookers to open
                     while pressurized when in truth the lid locking mechanism as
                     defective and would allow the Pressure Cookers to open while
                     pressurized; and
                 c. By correcting the defect in new product lines without issuing a recall
                     of the defective Pressure Cookers, leaving inherently dangerous
                     Pressure Cookers in homes across the country.

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              203. Defendant’s misrepresentations and omissions alleged herein caused
       Plaintiffs and the Class Members to make their purchases of the Pressure Cookers.
       Absent those misrepresentations and omissions, Plaintiffs and the Class Members
       would not have purchased the Pressure Cookers.
              204. Accordingly, Plaintiffs and Class Members have suffered injury in
       fact   including   lost   money     or   property    as   a   result   of   Defendant’s
       misrepresentations and omissions.
              205. Plaintiffs and Class Members seek to enjoin further unlawful, unfair,
       and/or fraudulent acts or practices by Defendant under Ca. Bus. & Prof. Code §
       17200. Plaintiffs and Class Members also request that this Court enter such orders
       or judgments as may be necessary to enjoin Maxi-Matic from continuing its
       unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs and Class
       Members any money it acquired by unfair competition, including restitution
       and/or restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code § 17203
       and Cal. Bus. & Prof. Code § 3345.


                                         JURY DEMAND
       Plaintiffs respectfully request a trial by jury on all causes of action so triable.

                                     PRAYER FOR RELIEF
              Plaintiffs, individually and on behalf of all others similarly situated, request
       the Court enter judgment against Maxi-Matic, and accordingly requests the
       following:
                    a)     An Order certifying this action as a class action on behalf of
       the Nationwide Class and Florida Class;
                    b)     An Order appointing Plaintiffs as the Class representatives,
       and appointing the undersigned counsel as Class Counsel;
                    c)     A Declaration of the defect and that the warranty fails its

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       essential purpose;
                    d)      An Order awarding injunctive relief by requiring Maxi-Matic,
       at its own expense, to issue corrective actions, including notification, recall,
       inspection, and, as necessary, repair and replacement of the Pressure Cooker;
                    e)      Payment to Plaintiffs and all Class members of all damages
       associated with or caused by the defective Pressure Cooker, in an amount to be
       proven at trial;
                    f)      An award of attorneys’ fees and costs, as provided by law
       and/or as would be reasonable from any recovery of monies recovered for or
       benefits bestowed on the Class;
                    g)      Interest as provided by law, including but not limited to pre-
       judgment and post-judgment interest as provided by rule or statute; and;
                    h)      Such other and further relief as this Court may deem just,
       equitable, or proper.

       Date: February15, 2018


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